Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 1 of 81 PageID #: 1200




 1                   IN THE UNITED STATES DISTRICT COURT
 2                     FOR THE EASTERN DISTRICT OF TEXAS
 3                              MARSHALL DIVISION
 4
      VIKING TECHNOLOGIES, LLC          )
 5                                      )
      VS.                               ) Case No. 2:20-cv-00357-JRG
 6                                      ) (Lead Case)
      ASSURANT, INC., et al             )
 7
      _____________________________
 8
      ASURION, LLC, et al          ) Case No. 2:20-cv-00358-JRG
 9                                 )
      _____________________________
10
      CLOVER TECHNOLOGIES GROUP,        ) Case no. 2:20-cv-00359-JRG
11    LLC, et al                        )
12
13                  MARKMAN HEARING AND STATUS CONFERENCE
14                  BEFORE THE HONORABLE RODNEY GILSTRAP
15                        UNITED STATES DISTRICT JUDGE
16                                JUNE 15, 2021
17
18    APPEARANCES
19    FOR THE PLAINTIFF:               Mr. Charles Everingham, IV
                                       Ward, Smith & Hill, PLLC
20                                     1507 Bill Owens Parkway
                                       Longview, TX 75604
21                                     903.757.6400
22                                     Mr. John Francis Petrsoric
                                       Mr. Michael S. De Vincenzo
23                                     King & Wood Mallesons LLP
                                       500 Fifth Avenue, 50th Floor
24                                     New York, NY 10110
                                       212.319.4755
25

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 2 of 81 PageID #: 1201




 1    FOR THE DEFENDANTS:
      (2:20-cv-00357)                  Mr. Michael Clayton Deane
 2                                     Mr. Matthew W. Howell
                                       Alston & Bird LLP - Atlanta
 3                                     1201 West Peachtree Street NW
                                       #4900
 4                                     Atlanta, GA 30309-3424
                                       404.881.7777
 5
      FOR THE DEFENDANT
 6    ASURION:                         Ms. Melissa Richards Smith
                                       Gillam & Smith, LLP
 7                                     303 South Washington Avenue
                                       Marshall, TX 75670
 8                                     903.934.8450
 9                                     Mr. Michael Valaik
                                       Ms. Katherine E. Rhoades
10                                     Bartlit Beck LLP - Chicago
                                       54 West Hubbard Street, Suite 300
11                                     Chicago, IL 60654
                                       312.494.4403
12
      FOR THE DEFENDANTS:
13    (2:20-cv-00359)                  Mr. Eric Wolf Pinker
                                       Mr. Patrick Brett Disbennett
14                                     Lynn Pinker Cox & Hurst LLP
                                       2100 Ross Avenue, Suite 2700
15                                     Dallas, TX 75201
                                       214.981.3837
16
17
      COURT REPORTER:                  Ms. Lori Barnett
18                                     130 Jaron Drive
                                       Pottsboro, Texas 75076
19                                     903.821.3200
20
21
      Proceedings recorded by mechanical stenography, transcript
22
      produced by CAT
23
24
25

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 3 of 81 PageID #:
                                                                       3 1202




 1                               E X H I B I T S
 2
 3                             (None were offered)
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 4 of 81 PageID #:
                                                                       4 1203




 1                            P R O C E E D I N G S
 2                  THE COURT: All right. This is the time set for
 3          claim construction. The Court is taking up claim
 4          construction concurrently in three consolidated cases.
 5          These include case number 2:20CV357 styled Viking
 6          Technologies vs. Assurant, Valu Tech, Teleplan and
 7          Broadtech, CWork Solutions, Signal, L.P., Signal GP, and
 8          MMI-CPR, LLC.
 9                  It also includes case number 2:20CV358 which is
10          Viking Technologies vs. Asurion, LLC, and case number
11          2:20CV359 styled Viking Technologies vs. Clover
12          Technologies, Clover Wireless, Teleplan Holdings,
13          Teleplan Service, and Reconext LLC.
14                  Let me call for announcements on the record. Let
15          me hear first from the plaintiff, Viking Technologies.
16                  MR. EVERINGHAM: Good morning, Your Honor. May it
17          please the Court, Chad Everingham for Viking
18          Technologies. I'm joined today by my co-counsel with the
19          King & Wood Mallesons firm, John Petrsoric and Michael
20          DeVincenzo. Running the slides for us today, Mr. Dominic
21          Vitatiano is here. And we're also joined by our client
22          representative, Mr. Kevin Barnett, who's in the gallery,
23          and we're ready to proceed.
24                  THE COURT: All right. Thank you.
25                  Let me hear from the defendants. We will start

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 5 of 81 PageID #:
                                                                       5 1204




 1          with the defendants in the 357 case.
 2                  MR. DEANE: Good morning, Your Honor. Michael
 3          Deane here, along with my colleague Matt Howell from
 4          Alston & Bird representing the Broadtech entities, and
 5          the entities in the 357 case.
 6                  THE COURT: All right. Other announcements in the
 7          357 case?
 8                  MR. DEANE: Your Honor, we represent all of the
 9          defendants in the 357 case.
10                  THE COURT: All right. Then let me hear
11          announcements from the defendants in the 358 case.
12                  MS. SMITH: Good morning, Your Honor. Melissa
13          Smith in the 358 case on behalf of Asurion. I am joined
14          by Mr. Michael Valaik. Mr. Valaik will be addressing the
15          Court this morning -- Mr. Valaik, if can you stand -- and
16          his partner, Ms. Katy Rhoades. And we're ready to
17          proceed, Your Honor.
18                  THE COURT: All right. And how about defendant's
19          announcements in the 359 case.
20                  MR. PINKER: Good morning, Your Honor. Eric
21          Pinker on behalf of the defendants -- all of the
22          defendants in the 359 case. I'm here with Patrick
23          Disbennett, my colleague. I'm also here with my client
24          representative, Mr. Rich Fischer, who is sitting in the
25          gallery.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 6 of 81 PageID #:
                                                                       6 1205




 1                  THE COURT: All right. And Mr. Pinker, just for
 2          my own clarification, does your firm also represent Valu
 3          Tech in the 357 case?
 4                  MR. PINKER: We represent Valu Tech which is a
 5          party in the 359 case, Your Honor. I'm not appreciating
 6          that there is a Valu Tech entity named in the 357 case.
 7                  THE COURT: All right. That could be some error
 8          on my part. I just want to make sure everybody is
 9          covered.
10                  MR. PINKER: Yes, sir. I represent all of the
11          defendants in the 359 case. And there has been an
12          amendment to the complaint which substituted, and added,
13          and also removed a party. There are six named defendants
14          in the 359 case.
15                  THE COURT: All right. Thank you.
16                  MR. PINKER: Thank you, Your Honor.
17                  THE COURT: All right. Counsel, let's jump into
18          the disputed claim language for purposes of today's
19          Markman hearing. Let's begin with biasing the cutting
20          device, and biasing the cutting wire from the 953 and the
21          357 Patents.
22                  Let me hear from plaintiffs first.
23                  MR. DEVINCENZO: Good morning, Your Honor. Mike
24          DeVincenzo on behalf of Viking.
25                  THE COURT: Good morning.

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 7 of 81 PageID #:
                                                                       7 1206




 1                  MR. DEVINCENZO: The first term is biasing or
 2          biasing the cutting device/wire. The dispute with
 3          respect to this term is relatively narrow. The parties
 4          agree that biasing a cutting device or a wire means
 5          applying a force to it. The defendants seek to add an
 6          additional requirement that's not in the claims, that
 7          when the force is applied it must hold the wire or
 8          cutting device in a given position. The defendants
 9          additional language is inconsistent with the claims
10          itself and the specification and it's not supported by
11          the prosecution history.
12                  With respect to the claims -- and since this is
13          the first term, I'm going to put up Claim 1 and go
14          through it a little bit because the claim in this case is
15          pretty clear and readily understandable, especially with
16          reference to Figure 7. The claim's about a method of
17          removing a protective glass top surface from a display
18          unit. There are three layers in the display unit. It
19          has a glass top, it has -- that's the top layer in the
20          figure. It has an electronic display portion, that's the
21          bottom layer, 22. And then there between is an
22          intermediate layer. And in Figure 7 that's depicted as
23          24.
24                  So what the claim says is, in order to remove that
25          glass top surface, the first thing you do is you fix the

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 8 of 81 PageID #:
                                                                       8 1207




 1          device in a carriage. The second thing you do is you
 2          align a cutting device in a coplanar relationship with
 3          the intermediate layer. Then you bias the cutting device
 4          in the intermediate layer adjacent to the electronic
 5          display portion and away from the glass.
 6                  And then later -- and this is the last element --
 7          so now you have the device in the carriage, you have the
 8          wire aligned with that inner layer, and then you drive
 9          the wire or the cutting device into that middle layer.
10                  THE COURT: I understand, Counsel, visually to me
11          is like the cheese board with the wire cutting the pieces
12          of cheese.
13                  MR. DEVINCENZO: Yes, to some extent.
14                  And Claim 8, dependent claim, it expressly
15          requires advancing during the biasing -- so in your
16          example you would be moving the cheese relative to the
17          wire or the wire relative to the cheese as you're
18          biasing.
19                  Now Figure 7, the Z is not actually in the figure
20          but the defendants have that in their brief and it's in
21          the prosecution history. And the reason Z is important
22          is because that's the way you're biasing. You're pushing
23          down. And the reason you're pushing down is not to hold
24          the wire in place, it's so glass shards don't get caught
25          in the intermediate layer. And that's explained in the

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 9 of 81 PageID #:
                                                                       9 1208




 1          specification.
 2                   So based on the claim itself, especially Claim 8,
 3          we know that biasing does not require holding the wire in
 4          a given position. It's just directly inconsistent with
 5          the claim language. The defendants admit as much. They
 6          agreed -- and this is from page 12 of their brief -- that
 7          the asserted claims require the cutting device to move,
 8          yet they never grapple with the fact that if the cutting
 9          device is required to move during biasing, which is what
10          they admit, how can the construction of biasing require
11          to hold the cutting device in a given position. It's
12          clearly changing positions.
13                   Now the claims are not surprisingly consistent
14          with the specification. Specification teaches movement
15          during biasing. In their responsive brief -- and on the
16          slide I have 632 through 36 but there are several
17          examples in the parties' briefing. Most important, the
18          defendants themselves, they admit this. They admit
19          there's movement during biasing according to the
20          specification. They explain the specification describes
21          applying force to the cutting device which holds the
22          cutting device adjacent to the electronic display as it
23          moves.
24                   And now earlier I talked about the purpose of
25          biasing. And defendants have said, well, the purpose --

                       BARNETT COURT REPORTING
                            903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 10 of 81 PageID10
                                                                        #: 1209




  1          and this is in their briefing but it's not reflected in
  2          their construction -- is to hold the constant in the Z
  3          position. So although you would be applying a force down
  4          which would suggest that it could move downwards in the Z
  5          position, in the briefing the defendants said well,
  6          movement is allowed and they conceded that. But they
  7          said, but no movement is possible in the Z position and
  8          they argued that's the purpose of biasing, to keep it
  9          steady. We think that's inconsistent with applying a
 10          force downward. By applying a force downward, generally
 11          something would move down. That's why you're applying a
 12          force.
 13                   But more importantly it's inconsistent with the
 14          specification. The specification teaches the purpose of
 15          biasing is not to hold it in a constant Z position, it's
 16          to keep it as far away from the glass layer as possible,
 17          to prevent encountering snagging of the glass layer. So
 18          as you hold it down it can go around shards of glass. So
 19          if you're pushing it in the middle of the intermediate
 20          layer and there's shards of glass, you apply a force
 21          downward as you're moving forward and it will go around
 22          that. And on the slide is Column 6, lines 10 through 22.
 23          But this purpose of biasing is also discussed in Column
 24          3, lines 50 through 55. And there it says, also
 25          disclosed is a method further including the step of

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 11 of 81 PageID11
                                                                        #: 1210




  1          biasing the wire away from the glass to prevent
  2          encountering snagging of the glass layer -- oh, I'm
  3          sorry, to minimize encounters with broken glass. So
  4          that's the point of biasing. It's not to hold it in a
  5          given position.
  6                  Now defendants argue otherwise based on one
  7          portion of the specification and they rely on Column 3,
  8          55 to 60. And there a particular embodiment of biasing
  9          is disclosed. And it says a method wherein the biasing
 10          steps includes locating wire guide posts in a plane below
 11          that of the electronic display portion so that the wire
 12          is biased against that portion as it enters and exits the
 13          intermediate layer. And in their briefing defendants
 14          argued, well, this means there can be no movement in the
 15          Z direction because as the wire enters and exits the
 16          intermediate layer it's always going to be against a
 17          specific plane of the electronic display portion. Well,
 18          that's only in the embodiment with wire guide posts.
 19          That's what support here, and wire guide posts would keep
 20          the wire in one position with respect to the Z direction.
 21          But the claims at issue don't require wire guide posts,
 22          and biasing itself without wire guide posts is nowhere
 23          described in the specification as requiring no movement
 24          in the Z direction.
 25                  Turning to the prosecution history. The

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 12 of 81 PageID12
                                                                        #: 1211




  1          prosecution history never distinguished prior art based
  2          on the use of biasing such that no movement could be
  3          required or no movement in the Z direction would be
  4          required. Instead, as stated on page 16 of Applicant's
  5          appeal brief from the Examiner's rejection, they said --
  6          and this is with respect to one of the prior art
  7          reference -- there's no disclosure of biasing as required
  8          by the claims, namely, away from the glass. It was the
  9          direction of biasing that was distinguished, not whether
 10          anything had to be held in place.
 11                  And in that brief, on this page on the slide,
 12          Tajima's references discuss -- when each of the
 13          references discuss the appeal brief, it's always
 14          distinguished for the same reason, the direction of
 15          biasing. It's not about holding a wire in a given
 16          position.
 17                  So where does the defendant's construction
 18          actually come from. Well, there were dictionary
 19          definitions discussed in the appeal. And the Applicants
 20          told the Examiner, those of ordinary skill in the art
 21          would readily understand the term biasing requires the
 22          application of some force in this mechanical engineering
 23          art, and then there's a colon there. And this is on page
 24          16 of the Applicant's brief. And there are four
 25          dictionaries listed. I think in our brief we

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 13 of 81 PageID13
                                                                        #: 1212




  1          inadvertently said five, but there's four. And I'll go
  2          through them on the next slide.
  3                  And then later after identifying all four
  4          dictionary definitions, the Applicants explain, "thus,
  5          those of ordinary skill in the arts would fully
  6          understand that the term bias and its related words
  7          includes the application of some force." And the reason
  8          that was in issue is explained in the very next sentence.
  9          The Office action, which was being appealed, had stated
 10          that a biasing force which is not currently claimed. So
 11          in the Office action rejection, the Examiner had
 12          reflected this belief that biasing does not require
 13          application of force. So in the appeal brief they said
 14          yes, it requires an application of force, and it requires
 15          a particular application of force away from the glass
 16          because that's how you get around those shards of glass
 17          as you're trying to pop the glass cover.
 18                  THE COURT: Is it a constant level of biasing
 19          force or does the level of biasing force vary through the
 20          removal process?
 21                  MR. DEVINCENZO: It doesn't -- it's -- you have to
 22          bias at least once. You don't have to bias the whole
 23          time. So as you're sliding through, you encounter a
 24          piece of glass, you can bias around it. But you don't
 25          have to bias the whole time. That's not required by the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 14 of 81 PageID14
                                                                        #: 1213




  1          claims and that's not required by defendant's
  2          construction either.
  3                  THE COURT: All right. What else?
  4                  MR. DEVINCENZO: And then on the Board's decision,
  5          I have the appeal reply brief. They said, Patent
  6          Examiner's use of the term force as a possible synonym is
  7          not inconsistent with the use of the word in this
  8          application. They said, as a possible synonym is not
  9          inconsistent with the use of the word in this
 10          application, but that's Viking's construction. That has
 11          nothing to do with holding it in place, that's saying a
 12          force is a synonym for bias. And that's how the Board
 13          understood it. In the Board's decision, the Applicant
 14          agrees that the term force is a possible synonym for bias
 15          is not inconsistent with the use of the word in this
 16          application.
 17                  And then later, "given the general agreement
 18          between the Examiner and the Appellant that bias refers
 19          to force, the Examiner's stated definition does not
 20          appear to be a source of material dispute." So they are
 21          saying biasing means force.
 22                  And now I'm going to turn to the dictionaries.
 23          And before I said there were four dictionaries. And when
 24          the Applicants were explaining to the PTAB that biasing
 25          means application of force, they referred to all four

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 15 of 81 PageID15
                                                                        #: 1214




  1          dictionaries. And all four dictionaries indicate that
  2          biasing would refer to a force. You have Dictionary of
  3          Engineering, "the force applied." The Free Dictionary,
  4          "to influence in a particular direction." The Oxford
  5          Dictionary, "show inclination against something." The
  6          Merriam-Webster Dictionary, "apply a slight negative or
  7          positive voltage." And a voltage is a force. So the
  8          Examiner said -- I mean the Applicant said all of these
  9          dictionaries are consistent with our construction.
 10                  So what do the defendants do? They take the first
 11          dictionary and they say if we cut it off there and
 12          pretend that's the only dictionary and we say a force
 13          applied to a relay to hold it in a given position, and
 14          that's what they use. And then in their briefing they
 15          put in extrinsic evidence and they say the McGraw-Hill
 16          dictionary similarly says bias in the electrical arts
 17          could refer to the force applied to a relay to hold it in
 18          a given position. And we all agree that electrical arts
 19          if you're applying it to a relay -- which is not what the
 20          invention is about -- it could be to hold it in a given
 21          position. But we know that's not the definition here.
 22          We're not talking about relays. We're not talking about
 23          the electrical arts. We're talking about the mechanical
 24          arts. And we're talking about moving the wire as you're
 25          pushing it through the intermediate layer. These

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 16 of 81 PageID16
                                                                        #: 1215




  1          dictionaries are simply inapplicable and they can't be
  2          used to contradict the intrinsic evidence.
  3                  One more. And then lastly, the defendants rely on
  4          two extrinsic patent applications and they say, well,
  5          these define bias as requiring no movement in a
  6          particular direction. Neither of these applications
  7          actually define the word biasing at all. They simply use
  8          it in a manner -- let me slow down. With respect to the
  9          first one, neither of them define what it means to bias.
 10          Instead they use the term bias, and they say the biasing
 11          force in that application will retain objects, will not
 12          allow movement in a particular direction.
 13                  Well, in those applications that's what's
 14          explained. That's not the definition used here. And
 15          that can't be used to contradict the intrinsic evidence.
 16          If the force is being applied down as a matter of logic
 17          and reason, the wire may move down. That's how the force
 18          works. If you're applying a force downward it may move
 19          down. And there's nothing in the intrinsic evidence that
 20          says otherwise.
 21                  THE COURT: All right. What else?
 22                  MR. DEVINCENZO: That's all.
 23                  THE COURT: Let me hear from the defendants in
 24          response.
 25

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 17 of 81 PageID17
                                                                        #: 1216




  1                  MR. VALAIK: Your Honor, Mike Valaik.
  2                  Biasing here was really the crux of the purported
  3          invention. We see that throughout the prosecution
  4          history, and more importantly in the claim language.
  5          When we actually look at Claim 1 -- and I'll show it here
  6          in a minute of the 537 Patent, it's clear that biasing
  7          the cutting device or wire is really at the heart of
  8          this because the rest of it as plaintiff's counsel
  9          detailed, you align the cutting device, you drive a
 10          cutting device, you advance a cutting device. That
 11          really didn't go to the heart of this invention. Indeed,
 12          that cutting with a wire was around in both industrial
 13          applications and other settings as Your Honor alluded to,
 14          such as a cheese wire.
 15                  Before showing why we believe, Your Honor, to hold
 16          it -- the cutting device wire -- in a given position is
 17          the appropriate construction, I just want to make two
 18          preliminary points. First, it is not our position that
 19          during biasing the cutting wire is stationary. We said
 20          as such in our briefing, and Viking maintains that to
 21          hold it in a given position means the wire is not moving.
 22          And it's interesting, we'll walk through the prosecution
 23          history and we'll see that defendant's construction here
 24          is; one, what plaintiff offered and really what held
 25          throughout prosecution. And no one got confused that

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 18 of 81 PageID18
                                                                        #: 1217




  1          when you use the construction, applying a force to the
  2          cutting device/wire in a given position, means biasing
  3          stationary wire can't move. And so here Viking is just
  4          simply mischaracterizing our position.
  5                  And the second preliminary point before I walk
  6          through the claim specification prosecution history is
  7          simply if we apply plaintiff's construction, simply
  8          applying the force, we believe you're leaving out the
  9          biasing limitation. Because to move a wire you apply a
 10          force, to drive the wire, to cut the wire you have to be
 11          applying a force. And so leaving that alone, we're going
 12          to take the biasing limitation and in some sense we're
 13          conflating it with the rest of the claim.
 14                  So why is defendant's construction to add "hold it
 15          in a given position" correct. First, looking at Claim 1
 16          we see the entire limitation, biasing the cutting device
 17          in the intermediate layer adjacent the electronic display
 18          portion and away from the glass. And that's important
 19          because immediately we see how biasing is used in the
 20          asserted claims, it's positional. You are biasing the
 21          device, applying that force so you can stay adjacent the
 22          electronic display so you can maintain that position away
 23          from the glass.
 24                  When we turn to the specification, similarly --
 25          and this is in the 537 Patent, Column 6, lines 10 through

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 19 of 81 PageID19
                                                                        #: 1218




  1          21. We see here first the preferred method -- it's
  2          important, I just want to stop for a minute. This is the
  3          preferred method of separating the electronic display,
  4          not the preferred method of biasing. Because the patent
  5          in the specification discloses a number of different
  6          methods for separating the electronic display. But for
  7          purposes of why to hold it in a given position is the
  8          construction here, Your Honor, we see it talks about
  9          biasing the wire blade, maintaining the cutting element
 10          in a coplanar relationship, and so again positional. You
 11          are applying this force so you can hold it in a given
 12          position. It goes on to say keeping it taut and aligning
 13          it carefully to maintain the coplanar relationship.
 14                  And then finally as we've discussed, this is to
 15          keep it as far away from the glass as possible to prevent
 16          encountering or snagging of the glass layer.
 17                  THE COURT: Let me ask you this, Counsel. If
 18          requiring a force means movement how does that not
 19          contradict with your hold it in a position?
 20                  MR. VALAIK: If we take hold it in a given
 21          position as being stationary, it does contradict it
 22          because application of a force doesn't necessarily mean
 23          you have to move. You can apply a force and that -- it's
 24          not enough force to where that object is physically
 25          moving. But if we take it the next step, that

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 20 of 81 PageID20
                                                                        #: 1219




  1          application of a force is going to move that wire then if
  2          "hold it in a given position" means stationary, then that
  3          is contradictory. That is confusing. We believe when
  4          you read "hold it in a given position" in the context of
  5          Claim 1, as well as the specification, it's quite clear
  6          that during the biasing step that you're moving. We
  7          agree with plaintiffs on that point and we don't mean to
  8          suggest in our construction with hold it in a given
  9          position it's going nowhere.
 10                  THE COURT: Does your view of hold it in a given
 11          position preclude the ability of the wire to move in
 12          what's called the Z direction during its travel through
 13          the intermediate layer?
 14                  MR. VALAIK: No, Your Honor.
 15                  THE COURT: So you can't drop down to dodge the
 16          shard glass.
 17                  MR. VALAIK: You can. I was going to cover this,
 18          but I'll cover it now in light of your question, sir.
 19                  We said on page nine of our brief, the parties
 20          further agree -- this is our second sentence in the
 21          biasing discussion. "The parties further agree the claim
 22          biasing step requires that the forces apply to the
 23          cutting device in the direction along the Z axis as shown
 24          in annotated version of Figure 7 above, that Applicant
 25          submitted to the Board during prosecution."

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 21 of 81 PageID21
                                                                        #: 1220




  1                  So we agreed there with plaintiff as well that
  2          biasing requires this application of force in the Z axis
  3          direction. And as counsel said, that could create
  4          movement in the Z axis direction. That's fine with us
  5          and it's just another example where we -- they are
  6          mischaracterizing our position. We did say there would
  7          be no movement.
  8                  THE COURT: Well, if there can be movement and if
  9          there can be movement in the Z position or Z direction,
 10          where is the merit of the value of adding, to hold it in
 11          a given position? Why is that necessary? Why is it
 12          informative? Why does it help the jury instead of
 13          confuse the jury?
 14                  MR. VALAIK: Because what we'll see both in the
 15          claim language, the specification, and walking through
 16          the prosecution history is that the whole purpose of
 17          biasing here is positional. The whole purpose, the
 18          inventive concept that they say they claim is that if you
 19          encounter a glass shard, what you need to do in this
 20          application of force as you're maintaining it adjacent to
 21          the electronic display or otherwise, you're going to move
 22          that. You're going to apply a force now in the Z axis.
 23          You're going to go just down and around, simply let's go
 24          around an obstacle. And so what helps the jury here is
 25          to understand that with respect to biasing, not simply

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 22 of 81 PageID22
                                                                        #: 1221




  1          driving, cutting, application of force, that this is the
  2          critical step that they claim is inventive. And what
  3          it's doing is maintaining or keeping that wire in a
  4          certain position. And if -- if it connotes to the
  5          average person that means stationary, we can offer an
  6          alternative construction that clears that up. But we
  7          believe it's critical here, it's not simply pulling a
  8          wire and applying a force. That standing alone is, you
  9          know, the same thing as driving, or cutting, or any of
 10          those things. Biasing has to mean more, and it has to be
 11          applying that force to the wire for that positional
 12          purpose.
 13                  THE COURT: Define what you mean by "positional
 14          purpose"?
 15                  MR. VALAIK: Well, I'll go back right here.
 16          Positional purpose, Your Honor, looking at the spec here,
 17          would be you bias the wire or blade against, adjacent, or
 18          close to the plane adjacent the electronic display.
 19          Defense says, maintaining cutting element in a coplanar
 20          relationship. And we're going to talk about coplanar
 21          relationship today.
 22                  THE COURT: I assume we will.
 23                  MR. VALAIK: And so you want to keep that
 24          position. And then keeping it taut, aligning it
 25          carefully to maintain that coplanar relationship. So

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 23 of 81 PageID23
                                                                        #: 1222




  1          we're not simply applying a force, we're doing more.
  2          We're applying a force so that we hold that wire in a
  3          given position or maintaining a certain position.
  4                  THE COURT: Let me ask you this. Is the biasing
  5          direction called out and specified in the claim language?
  6          And if so, how and where?
  7                  MR. VALAIK: The specific direction is not called
  8          out, Your Honor.
  9                  THE COURT: Okay. All right. Let me hear the
 10          rest of your argument.
 11                  MR. VALAIK: Yes, sir.
 12                  I've turned now to the prosecution history. And
 13          plaintiff's counsel showed the definitions but I think
 14          it's important to stop at the first definition and show
 15          when they included the definition of bias here, the force
 16          applied to a relay to hold it in a given position. One
 17          is what plaintiffs offered. And I think two, it's
 18          important to mention they said right here, those of
 19          ordinary skill in the art readily understand that the
 20          term biasing requires the application of some force. And
 21          here, what is that art? It's the mechanical engineering
 22          art. And the one definition that plaintiffs offered from
 23          a mechanical engineering source is indeed what we offer
 24          as our construction here today, which includes, to hold
 25          it in a given position.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 24 of 81 PageID24
                                                                        #: 1223




  1                  THE COURT: Let me interrupt. Let me go back to
  2          my prior question. When you said that the biasing
  3          direction is not called out in the claim, tell me how
  4          that argument squares with the language in Claim 1,
  5          biasing the cutting device in the intermediate layer
  6          adjacent to the electronic display portion and away from
  7          the glass. Doesn't "away from the glass" denote a
  8          direction?
  9                  MR. VALAIK: Away from -- if you're going to be
 10          biasing the cutting device in the intermediate layer and
 11          you're adjacent the electronic display portion, we
 12          believe biasing there is simply, you're adjacent that
 13          electronic display. Away from the glass is consistent
 14          with the rest of the specification and the claim, you're
 15          just simply as far away from the glass as you can be. It
 16          is -- it does not say explicitly that biasing force is in
 17          the Z axis direction.
 18                  And one important point here in the specification
 19          also includes you can -- this can be in both directions,
 20          too. And so, you know, once it's adjacent the electronic
 21          display, simply saying "away from the glass" there is
 22          you're as far away from that glass as you can possibly
 23          be. We don't believe that explicitly says in the Z axis
 24          direction. And Figure 7 here is quite important.
 25          Because in Figure 7 of the patent, we just have our X and

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 25 of 81 PageID25
                                                                        #: 1224




  1          Y direction. And what they included in prosecution of
  2          Figure 7, they included in that Z axis direction to make
  3          clear to the Examiner who also didn't understand biasing
  4          in the context of these claims, that in fact we're
  5          talking about application of a force in a Z axis
  6          direction. That wasn't clear based on the claim language
  7          alone to the Examiner.
  8                  THE COURT: All right. Let's continue.
  9                  MR. VALAIK: Yes, Your Honor.
 10                  And so I have on the top of the screen here on our
 11          Slide 6, this was the definition for biasing in the
 12          mechanical engineering art that plaintiff offered. And
 13          it's important -- I mean this is what the Examiner
 14          adopted for purposes of the prosecution. He then
 15          applies, you'll see at the bottom, the very definition
 16          that plaintiffs offer here in the mechanical engineering
 17          art. With respect to these other definitions that
 18          plaintiff's counsel discussed, he said looking at these
 19          three others, they are simply our every day understanding
 20          of biasing to influence in a particular, typically unfair
 21          direction. Also, you know, pause to feel or show
 22          inclination of prejudice. And similarly with respect to
 23          the Miriam Webster, to give a settled and often
 24          prejudiced outlook. I mean those are every day
 25          understandings of biasing. And plaintiff is correct,

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 26 of 81 PageID26
                                                                        #: 1225




  1          they did advocate the application of force in the
  2          prosecution but they also had, to hold it in a given
  3          position, and that's what the Examiner adopted.
  4                  And the last slide I have here, Your Honor, is the
  5          actual decision on appeal. It's clear the Examiner also
  6          states that the definition in the online Dictionary of
  7          Engineering is the force applied to a relay to hold it in
  8          a given position. And Viking didn't object to the
  9          application of that definition in prosecution either.
 10                  And so just to conclude, Your Honor, I put Claim 1
 11          back on the screen. We believe first when you read the
 12          biasing limitation in context of the entire claim it's
 13          clear that you're moving when biasing, and we agree with
 14          plaintiffs in that respect. But then secondly and more
 15          importantly, biasing is positional. It is the
 16          application of force for a reason, to hold that wire in a
 17          certain given position. You can change the force in the
 18          Z axis direction to go ahead and get around glass. But
 19          simply to say, to apply force, is too broad a
 20          construction for this term and it's going to conflate
 21          with driving, advancing, and some of these other terms in
 22          Claim 1.
 23                  THE COURT: All right. Thank you, Counsel.
 24                  Let's move on to the next disputed term,
 25          intermediate layer. Plaintiff tells me there's no

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 27 of 81 PageID27
                                                                        #: 1226




  1          construction necessary and defendant gives me a lengthy
  2          construction.
  3                  Let me start with the defendant in this case and
  4          let me hear their explanation of why the proposed
  5          construction is appropriate.
  6                  MR. DEANE: Good morning, Your Honor. Michael
  7          Deane here.
  8                  THE COURT: Good morning, Mr. Deane. Go ahead
  9          when you're ready.
 10                  MR. DEANE: So the intermediate layer term as we
 11          just discussed is present in multiple places in the
 12          claim, including in the biasing step. And what I think
 13          the dispute here is, Your Honor, is that the defendants
 14          believe that the intermediate layer is everything between
 15          the glass and the electronic display, and our
 16          construction of that term attempts to capture that
 17          concept whereas the plaintiff's construction leaves that
 18          issue open. And the defendant's construction tracks the
 19          specification. And we would be perfectly happy, Your
 20          Honor, if you adopted the language right out of the
 21          specification here as well.
 22                  THE COURT: Are you talking about Column 5, lines
 23          50 to 56?
 24                  MR. DEANE: Yes, Your Honor. Where it says that
 25          the intermediate layer is bounded by upper and lower

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 28 of 81 PageID28
                                                                        #: 1227




  1          interface planes which are adjacent the electronic
  2          portion in the glass layer. We think that that's
  3          defining the boundary of the intermediate layer, the
  4          glass layer and the electronic display layer. And we
  5          think the second part that says the distance between
  6          those planes is the thickness of the layer. And so we
  7          believe that that means everything in between.
  8                  And so as you can see from the picture at the
  9          bottom of the screen, there may be multiple components
 10          inside of an intermediate layer. So there may be a layer
 11          of adhesive, a polarizer, and another layer of adhesive.
 12          And so we believe that our construction tracks how the
 13          specification describes the intermediate layer where it's
 14          described as a sandwich structure with the buns being the
 15          glass and the electronic display and everything in
 16          between being the intermediate layer.
 17                  And I think it's important to point out, Your
 18          Honor, we're not arguing that this requires a specific
 19          orientation. The next line in the specification that I
 20          believe the plaintiffs cite in their brief is, you know,
 21          we believe perfectly valid. Upper and lower are terms
 22          that can be interchanged. But, you know, from our
 23          perspective we're not up here to argue that the glass
 24          always has to be the upper layer and the electronic
 25          display always has to be the lower layer. What we're

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 29 of 81 PageID29
                                                                        #: 1228




  1          trying to capture is that everything between is the
  2          intermediate layer. And we think that the reason that
  3          this is important, Your Honor, is because again, the
  4          intermediate layer is where the biasing takes place. And
  5          it's important to define where that location is. And we
  6          think that the potential problem is, is that the
  7          plaintiff may try to argue that the intermediate layer is
  8          only a portion of that layer in between. Because it is
  9          possible to insert a wire in, for example, the upper part
 10          of the intermediate layer or the upper adhesive above the
 11          polarizer. And if you're doing that you're not -- if
 12          you're doing that, you're inserting it into an
 13          intermediate layer. And we think that they are going to
 14          then read the rest of the claim to say that they are then
 15          biasing against the polarizer. And since the polarizer
 16          is in the plane that's most adjacent to the electronic
 17          display, that that somehow meets their claim language.
 18          And we think that that's improper and we think that that
 19          doesn't actually -- that is inconsistent with how the
 20          specification describes the intermediate layer as a
 21          whole.
 22                   And I'm not sure, I think we're actually not that
 23          far apart on this claim term. But the issue is that the
 24          plaintiff's brief doesn't quite get there. They say that
 25          the claims define the intermediate layer and they say the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 30 of 81 PageID30
                                                                        #: 1229




  1          claims define the intermediate layer as a portion of the
  2          display unit between the glass top and the display
  3          portion. But what they are pointing to is the preamble.
  4          And nobody is arguing that the preamble is limiting. And
  5          so what the defendants are trying to do is clarify the
  6          construction of intermediate layer by using how the
  7          specification describes it and defines it instead of as
  8          the preamble, which nobody argues is limiting.
  9                  So, you know, I guess if the plaintiff wants to
 10          come up and say that they think that the intermediate
 11          layer is everything in between the glass and the
 12          electronic display portion then we would be in agreement.
 13          But as it stands right now, we believe that plaintiff's
 14          nonconstruction leaves the issue unaddressed.
 15                  THE COURT: And is that because of the polarizer
 16          as well as the adhesive? Is there an open door here to
 17          something else being in that gap between the glass and
 18          the electronic display or is that just an unknown at this
 19          portion?
 20                  MR. DEANE: We believe it's unknown in the sense
 21          that plaintiffs' construction leaves it unaddressed. And
 22          there are various different products that are being
 23          accused of infringement, each which have different
 24          components in between. And so our attempt is to make
 25          sure that the plaintiff doesn't come in and argue there

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 31 of 81 PageID31
                                                                        #: 1230




  1          are, for example, multiple intermediate layers where some
  2          portion of the intermediate layer consists of one
  3          intermediate layer and if the biasing takes place in that
  4          intermediate layer then it meets their claim element. We
  5          believe that the intermediate layer must consist of
  6          everything in between the glass and the electronic
  7          display.
  8                  THE COURT: And your primary support for that is
  9          the portion of the specification we talked about in
 10          Column 5?
 11                  MR. DEANE: Yes, Your Honor. We believe that this
 12          portion of the specification tracks the defendant's
 13          definition. But again, to the extent that this is more
 14          clear, we're happy to adopt this language as well. Our
 15          goal was to capture the concept.
 16                  THE COURT: Let's look at the drawing you've got
 17          on the screen with the glass, for lack of a better term,
 18          on the top here, and the electronic display on the
 19          bottom, then you've got the adhesive with the polarizer
 20          shown with adhesive on either side of the polarizer. As
 21          a practical matter, does this wire dodge the polarizer in
 22          the middle of this intermediate layer and does it slice
 23          through the adhesive either between the glass and the
 24          polarizer or between the polarizer and the electronic
 25          display? Is the polarizer of a consistency that's equal

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 32 of 81 PageID32
                                                                        #: 1231




  1          to the adhesive and it doesn't matter? I mean it almost
  2          looks like the polarizer could be an impediment to use of
  3          the wire between the glass and the electronic display to
  4          remove the glass and still allow for the kind of Z
  5          directional movement that we talked about earlier in
  6          dodging shards of glass, et cetera.
  7                  Do we have some accused products that are -- or
  8          potentially accused products that have something besides
  9          a polarizer or are there two different polarizers with
 10          adhesive between -- I mean do we have a, you know,
 11          wedding cake situation with layer, layer, layer, layer in
 12          this intermediate area? Tell me what your view of those
 13          questions is.
 14                  MR. DEANE: So, Your Honor, I guess the best way
 15          to describe it is I think -- I think you're correct and
 16          you're on to what we're also on to here, is that the
 17          different products have different components in there,
 18          and we think that the intermediate layer is the way it's
 19          described by the patent, consists of all of those
 20          components. And so there is in some instances going to
 21          be a wedding cake situation in the sense where there's
 22          going to be one polarizer and two different adhesives in
 23          some products, but we're more concerned with the method
 24          of removal because we -- there's a lot of ways to remove
 25          a protective glass cover from a cell phone. And they

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 33 of 81 PageID33
                                                                        #: 1232




  1          have -- the way that they've accused it and the way that
  2          they've accused this specific biasing step is to do it in
  3          a plane adjacent to the electronic display. And so we
  4          don't believe that if you have a method where you're
  5          not -- where you're removing the glass cover but not
  6          removing the polarizer and you have to go back later and
  7          remove the polarizer, you're going to be able to achieve
  8          that biasing step as they've claimed it. And so we think
  9          that of the various different methods that you could
 10          potentially remove glass from a cell phone screen that
 11          they've claimed one of these methods. And so we believe
 12          at minimum to achieve their biasing step they are going
 13          to have to bias adjacent the electronic display, you
 14          know, in reference to that figure.
 15                  THE COURT: Are you aware of any products where
 16          the wire makes more than one pass between the glass and
 17          the electronic display? Again, go back to your art work
 18          here on the screen. Perhaps the wire runs between the
 19          glass and the polarizer and then comes back and on the
 20          second pass runs betweens the polarizer and the
 21          electronic display.
 22                  MR. DEANE: Yes, Your Honor.
 23                  THE COURT: I would think some polarizers are
 24          probably of a material that would impede the movement of
 25          the wire, and as a practical matter the density of the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 34 of 81 PageID34
                                                                        #: 1233




  1          polarizer would be considerably different than the
  2          density of the adhesive. And as a practical matter,
  3          people in the art would be trying to say in the adhesive
  4          as they remove this, whether it's all done in one pass
  5          between the electronic display and the polarizer or
  6          whether it's done in two passes where you remove the
  7          glass but leave the polarizer and then come back and have
  8          to do a second pass to remove the polarizer.
  9                  MR. DEANE: That's correct, Your Honor. We're
 10          aware of the -- of the method that you just described,
 11          which was the two pass method where you remove the glass,
 12          and then once the glass top is removed you then come back
 13          later and you remove the polarizer. The polarizer is
 14          very thin, but at the same time there are machines out
 15          there that are -- that do two passes on the device.
 16                  THE COURT: All right.
 17                  What else do you have for me on this, Mr. Deane?
 18                  MR. DEANE: That's it, Your Honor.
 19                  THE COURT: Let me hear from the plaintiff in
 20          response.
 21                  MR. PETRSORIC: Good morning, Your Honor, John
 22          Petrsoric from King & Wood Mallesons for the plaintiff,
 23          Viking Technologies.
 24                  I think this dispute largely comes down to whether
 25          the claim, including the preamble, defines the term

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 35 of 81 PageID35
                                                                        #: 1234




  1          versus whether there's a lexicographical definition in
  2          the specification. Clearly as we've been going through
  3          the biasing step, the issue of the spacial construction
  4          with the intermediate layer being sandwiched in between
  5          the glass top and the electronic display portion, is
  6          critical to the way the claims operate because the
  7          biasing step tells us that the cutting device or wire has
  8          to go away from the glass and adjacent the electronic
  9          display. That would clearly suggest that indeed as the
 10          preamble suggests -- and the specification does suggest
 11          as well that the intermediate layer is immediately
 12          sandwiched in between the glass top and the electronic
 13          display.
 14                  Mr. Deane just mentioned that the defendants would
 15          be okay with the lexicographical definition from the
 16          specification but that is not a clear -- there was no
 17          clear intent in the specification to initiate or to
 18          select that as a definition. And we do believe the
 19          preamble is limiting. It's not a discussion we've had
 20          with the defendants and I don't think anybody has
 21          specifically proposed it, but if the preamble is not
 22          limiting, the claim is -- sort of loses a bit of sense
 23          because how could you then go away from the glass and
 24          adjacent the electronic display if the intermediate layer
 25          isn't sandwiched in between the glass top and the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 36 of 81 PageID36
                                                                        #: 1235




  1          electronic display.
  2                  And again, if you go back to the preamble of all
  3          the asserted claims the preambles clearly define that the
  4          display unit has a glass top, electronic display portion,
  5          and the intermediate layer there between. So the
  6          intermediate layer in all these instances and in the
  7          infringement as well, is going to be in between the glass
  8          top and the electronic display portion and that's
  9          consistent with the -- what we're showing in Figure 7,
 10          even as annotated by the Applicants during the
 11          prosecution.
 12                  The specification clearly states that the cell
 13          phones generally use the sandwich structure. This is not
 14          a definitional statement. Neither is the next set of
 15          statements that defendants rely on for their assertion of
 16          lexicography.
 17                  THE COURT: Let me stop you there. Let's look at
 18          that highlighted language. And it begins with,
 19          "regardless of the nature of the intermediate layer."
 20          Doesn't that pretty much say this covers everything? I
 21          mean that's a pretty broad introductory phrase there,
 22          "regardless of the nature of the intermediate layer."
 23                  That doesn't raise any indication to you that that
 24          may be lexicographical?
 25                  MR. PETRSORIC: I don't believe it does. It does

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 37 of 81 PageID37
                                                                        #: 1236




  1          not say this specific invention. And I do believe the
  2          claims are drafted to specifically address the
  3          definitional aspect of it.
  4                  THE COURT: All right.
  5                  MR. PETRSORIC: So I think the next -- we clearly
  6          agree that regardless of whether something is in an upper
  7          or lower position based on whether the glass is face down
  8          while the method is being performed or whether the glass
  9          is face up while the method is being performed, we're in
 10          clear agreement that the intermediate layer is bounded by
 11          the electronic display portion and the glass. It comes
 12          right out of the claims, nobody is disputing that.
 13                  THE COURT: Well, if we're all in agreement that
 14          that's the case that whatever is between the bottom of
 15          the glass and the top of the electronic display is the
 16          intermediate layer, where is the fight?
 17                  MR. PETRSORIC: That's what I -- I think the fight
 18          may well have been whether the preamble is limiting. And
 19          I think plaintiff concedes that the preamble is indeed
 20          limiting in that the intermediate layer is defined by the
 21          sandwich of the glass on one side and the electronic
 22          display portion on the other.
 23                  THE COURT: Well, maybe I'm -- maybe I'm missing
 24          something here but if both sides are telling me the
 25          intermediate layer is what lies between the glass and the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 38 of 81 PageID38
                                                                        #: 1237




  1          electronic display, why shouldn't I just adopt that as
  2          the construction rather than leave, as you've suggested
  3          in your briefing, no construction is necessary and leave
  4          the door open to some creative trial lawyer in front of a
  5          jury deciding to tell them that it's something different
  6          or there's some other reality here than the intermediate
  7          layer is between the glass and the electronic display.
  8                  MR. PETRSORIC: We believe that that's what is
  9          expressly stated in the preamble. And if the preamble is
 10          limiting we wouldn't believe that there would be any
 11          further construction necessary beyond that. That it's
 12          already -- that definition is already expressed in the
 13          claim itself.
 14                  THE COURT: So it's not about what the definition
 15          is, it's about whether it should be expressly stated by
 16          the Court or should be simply left as it exists through
 17          the limiting preamble?
 18                  MR. PETRSORIC: Yes. Exactly.
 19                  THE COURT: So that's what we're fighting over?
 20          How to say the same thing we all agree on?
 21                  MR. PETRSORIC: It would appear that way, yes,
 22          without adding -- without the exercise of adding excess
 23          words like upper and lower that only would be a potential
 24          source of confusion.
 25                  THE COURT: Okay. All right. Well then what else

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 39 of 81 PageID39
                                                                        #: 1238




  1          do you have for me?
  2                  MR. PETRSORIC: Again, just a quick recap.
  3                  The claims specify that the intermediate layer is
  4          the layer between the glass top and the electronic
  5          display portion and it's fairly self evident given we're
  6          in the three-dimensional world here that the intermediate
  7          layer, like the glass top and the display portion itself,
  8          are going to have a length, a width, a thickness, and
  9          it's the -- there's beyond the limitation that's set
 10          forth in the preamble, there is not a necessity for the
 11          Court to do anything further in terms of construction.
 12                  THE COURT: All right. I think I now understand
 13          your position better. Thank you, Counsel.
 14                  MR. PETRSORIC: Thank you.
 15                  THE COURT: Okay. Let's go on to, in the
 16          intermediate layer. Again, the plaintiff is proposing no
 17          construction is necessary, the defendant proposes after
 18          the cutting device/wire enters the intermediate layer.
 19                  Let me hear from the plaintiff first on this.
 20          I'll save you a few steps.
 21                  MR. PETRSORIC: Thank you, Your Honor.
 22                  I think the main dispute in the parties'
 23          construction here is whether this boils down to a spacial
 24          limitation or whether this could be a temporal
 25          limitation. Starting with the claims themselves, we

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 40 of 81 PageID40
                                                                        #: 1239




  1          are -- biasing is performed, we know, as an expressed
  2          requirement in the claims, in the intermediate layer
  3          adjacent the electronic display portion and away from the
  4          glass. So we know that biasing, we're applying some
  5          force and the parties agree on there is an application of
  6          some force on the cutting device or the cutting wire in
  7          the intermediate layer to move it away from the glass and
  8          adjacent the electronic display portion.
  9                  So if we look at Figure 7 again, in thinking of
 10          this is a cross-section with the cutting wire, for
 11          example, while it's in the intermediate layer, the glass
 12          is on top and the electronic display portion is below.
 13          Biasing is -- applies a force to bring the wire towards
 14          the electronic display and away from the glass. Again,
 15          this is the expressed language of the claim. And the
 16          expressed language of the claim is that this has to
 17          happen in the intermediate layer.
 18                  This was re-enforced in the prosecution history.
 19          For example, the Examiner had stated early on that the
 20          method claims did not limit a bias being induced to the
 21          cutting device until it had entered the intermediate
 22          layer. And the Applicants noted in retort that that's
 23          what -- the expressed language of the claims is such that
 24          the biasing must occur in the intermediate layer. Now
 25          undoubtedly and from a practical perspective the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 41 of 81 PageID41
                                                                        #: 1240




  1          Applicants noted that, well, of course if it's going to
  2          happen in the intermediate layer the cutting wire would
  3          have already had to enter the intermediate layer. The
  4          claims make no sense otherwise. But that's also not a
  5          reason to redraft the claims.
  6                  And of course from based on the Applicant's
  7          argument that the claim specifically require that the
  8          biasing literally occur in the intermediate layer, the
  9          Examiner was overruled by the PTAB and the claims were
 10          allowed. We believe no construction is necessary because
 11          as the defendants say, this is an otherwise clear claim
 12          limitation in that the distinction as from no
 13          construction necessary versus after the cutting device or
 14          wire enters the intermediate layer is an academic
 15          difference. We don't understand how a clear -- how and
 16          why then a clear claim limitation would need to be
 17          redrafted.
 18                  THE COURT: Let me hear from the defendants,
 19          please.
 20                  MR. VALAIK: Your Honor, in the intermediate layer
 21          is probably similar to intermediate layer here in that
 22          there really isn't much of a dispute between plaintiff
 23          and defendants.
 24                  THE COURT: Well, let me ask you this. I'm
 25          looking at your proposed construction and I'm fast

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 42 of 81 PageID42
                                                                        #: 1241




  1          forwarding in my mind a jury box with a jury in it, and
  2          lawyers at the table, a trial taking place. I'm worried
  3          about "enters the intermediate layer." When the wire
  4          touches it has it entered it? If half the wire is inside
  5          the intermediate layer and half the wire is outside, has
  6          it entered it. I mean this looks like to me it's rife
  7          with potential disputes and problems, and of course claim
  8          construction is supposed to limit the number of problems,
  9          not increase them. And I'm looking at entering the
 10          intermediate layer, when do you enter? When have you
 11          entered? When are you in the process of entering but you
 12          haven't completely entered yet? This looks like a
 13          Pandora's box to me. So why is this helpful and why is
 14          it necessary as opposed to simply taking the claim
 15          language as it stands and saying that there's no
 16          construction necessary.
 17                  MR. VALAIK: For two reasons, Your Honor. Again
 18          looking at the prosecution here -- and this is from the
 19          Applicant in the course of prosecution. They said the
 20          Patent Examiner stated one of ordinary skill in the art
 21          upon reviewing Appellant's entire disclosure would not
 22          come to the conclusion that the method claims limit
 23          inducing the bias to the cutting member until after it
 24          enters the adhesive layer. And so Viking makes
 25          abundantly clear biasing has to take place in the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 43 of 81 PageID43
                                                                        #: 1242




  1          intermediate layer after that wire has entered. And yet
  2          when you look at the entire disclosure here, the
  3          sophisticated Patent Examiner did not come to that
  4          conclusion based on the entire disclosure of that. This
  5          biasing step is limited to being in the intermediate
  6          layer.
  7                   THE COURT: So as half of the wire passes into the
  8          intermediate layer and half of the wire is still outside
  9          the intermediate layer that portion of the adhesive
 10          that's been separated by that first half of the wire was
 11          not biased; is that right? Because all the wire is not
 12          in the intermediate layer yet.
 13                   MR. VALAIK: Well, our position I think would be,
 14          Your Honor, that once the wire enters the intermediate
 15          layer, any portion of the wire, then you've entered the
 16          intermediate layer.
 17                   THE COURT: I'm worried about how we define
 18          enters. And we don't have to define enters unless I
 19          adopt your construction. So give me some comfort that
 20          I'm not creating a problem instead of solving a problem.
 21                   MR. VALAIK: Well, the other part is if we look at
 22          the specification in the 537 Patent -- and I don't have a
 23          slide on this. But we mentioned this in our papers, and
 24          actually plaintiffs had a slide on this in their
 25          presentation. The specification also discloses at Column

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 44 of 81 PageID44
                                                                        #: 1243




  1          3, lines 55 through 60, of biasing prior to entering the
  2          intermediate layer. And so, you know, there's a
  3          disclosure where it's in the spec, Viking clearly says
  4          that's not biasing for purposes of this claim. But if
  5          the Court is worried after the cutting device wire enters
  6          the intermediate layer, you know, we -- we could amend
  7          this to make clear any portion of the wire enters the
  8          intermediate layer. But we believe a construction here
  9          is necessary to prevent some dispute down the road.
 10          Because as the Court has seen, the prosecution was rife
 11          with prior art; Sampica, Tajima, some of these other
 12          references which talked about biasing prior to entering
 13          the intermediate layer. And the whole Patent Appeal
 14          Board decision was based on that prior art is
 15          distinguishable because the biasing had not taken place
 16          in the intermediate layer. So we think a construction is
 17          preventing a potential claim construction dispute in the
 18          form of Daubert or something else down the road.
 19                  But I understand Your Honor's concern. We don't
 20          want to confuse the jury. And so if we put in there "any
 21          portion of the wire enters the intermediate layer" and
 22          that clears up that confusion, we believe we would be
 23          assisting the jury so that they don't make the same
 24          mistake the Examiner here was told he made based on what
 25          Viking said.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 45 of 81 PageID45
                                                                        #: 1244




  1                  THE COURT: Well, just for the purpose of
  2          thoroughly confusing everybody, if biasing is applying
  3          force, how does the wire ever enter the intermediate
  4          layer unless a force has already been applied to it to
  5          get it in the intermediate layer?
  6                  MR. VALAIK: That's true, Your Honor. That's why
  7          we believe biasing, simply the application of force, is
  8          too broad a construction. Because you can't move that
  9          wire unless you apply a force. Biasing has to mean more
 10          than that. And so I think it is confusing.
 11                  THE COURT: Well, I'm not sure how -- and I'm not
 12          trying to backtrack, but I'm not sure how applying a
 13          force to the cutting device to hold it in a given
 14          position that you proposed for biasing, I don't know how
 15          that addresses that issue of whether the force is applied
 16          to the wire to move it into the intermediate layer, as
 17          opposed to moving it through the intermediate layer once
 18          it's already there.
 19                  MR. VALAIK: Well, I believe the rest of the claim
 20          will take care of that in terms of -- if we go back to --
 21          I mean the rest of the claim addresses the biasing, the
 22          cutting device in the intermediate layer. And so we
 23          believe read in context why the application of force to
 24          hold it in a given position -- and we could modify that,
 25          Your Honor. We could modify "to hold it in a given

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 46 of 81 PageID46
                                                                        #: 1245




  1          position" to "maintain a certain position" so that we get
  2          away from the hold it language if the hold it language is
  3          somehow going to be understood as being stationary. But
  4          we then believe in context that makes sense. Because
  5          when you look at Claim 1 here, you also have the driving
  6          and advancing which is the application of force as well.
  7          And so we believe that additional "to hold it in a given
  8          position" or we would offer "to maintain a certain
  9          position" that really adds meaning to that biasing
 10          limitation and adds clarity. And it's pretty clear, too,
 11          it's adjacent the electronic display. So we think that
 12          would clear it up.
 13                  Getting back to in the intermediate layer though,
 14          Your Honor, I don't want to leave that fully. Again, we
 15          would agree if we could put in there, if a portion of the
 16          wire -- after a portion of the wire enters the
 17          intermediate layer would clear that up.
 18                  THE COURT: Well, I mean looking at the claim
 19          itself which you've got on the screen, the biasing step
 20          occurs before the driving step. And if you're talking
 21          about the driving language of the claim addressing the
 22          issue of the force moving the wire into the intermediate
 23          area, aren't you effectively reordering the claim here?
 24                  MR. VALAIK: And really, this is I think probably
 25          better if plaintiff responds to that. But I think

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 47 of 81 PageID47
                                                                        #: 1246




  1          logically biasing has to take place in the intermediate
  2          layer and driving the cutting device into the
  3          intermediate layer by definition then would have to
  4          precede any biasing. You have to enter the intermediate
  5          layer to bias. And so this being the second limitation,
  6          you know, I think lends itself to that very confusion the
  7          Examiner had. Which the Examiner citing prior art,
  8          Sampica and others, where biasing was taking place prior
  9          to entering the intermediate layer, that's reading these
 10          limitations in sequential order here. Certainly don't
 11          know how plaintiff intends to present their case to the
 12          jury, but I'm sure it's going to be driving first in the
 13          intermediate layer. And biasing can take place at any
 14          point as you are cutting through. As plaintiff's counsel
 15          said, it's just once. And so hypothetically, that could
 16          occur at any point.
 17                  THE COURT: Well, if you take the claim language
 18          on its face and if you don't go behind what the Examiner
 19          did and didn't understand but we have an adopted -- we
 20          have an allowed claim here, we're fixing it, we're
 21          aligning it, we're biasing, and then we're driving it
 22          into the intermediate layer. So on the face of the claim
 23          the biasing limitation occurs before driving it into the
 24          intermediate layer which tells me there can be biasing
 25          outside of the intermediate layer. But you want me to

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 48 of 81 PageID48
                                                                        #: 1247




  1          adopt a construction that limits the biasing to occurring
  2          within the intermediate layer.
  3                  MR. VALAIK: Yes, Your Honor.
  4                  THE COURT: So how do you reconcile those facts
  5          for me? I mean are you not asking me to reorder the
  6          claim by giving the definition to this language that
  7          you're asking?
  8                  MR. VALAIK: Well, I think the plaintiff would
  9          cite law that the steps in the method claim do not have
 10          to proceed in sequential order. We haven't had that
 11          argument. And we, quite frankly, haven't had the
 12          discussion with plaintiff, you know, what is the order by
 13          which these steps take place. The prosecution history
 14          was rife with this very dispute and it was resolved
 15          because plaintiff made clear biasing cannot take place
 16          prior to entering the intermediate layer. They were the
 17          ones then who by definition I think limited Claim 1 here
 18          to that understanding, that interpretation, Your Honor.
 19                  THE COURT: Okay. Anything further?
 20                  MR. VALAIK: No, Your Honor.
 21                  THE COURT: Thank you.
 22                  Okay. Let's go on to the coplanar terms.
 23          Coplanar aligning a cutting device in a coplanar
 24          relationship. And quite honestly, Counsel, this is where
 25          I anticipated most of your arguments would take place,

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 49 of 81 PageID49
                                                                        #: 1248




  1          but we've done a good job working up to this point.
  2          Plaintiffs are telling me coplanar means in the same
  3          plane. And defendants tell me that, but when we get to
  4          coplanar relationship defendants tell me that's
  5          indefinite.
  6                  Let me hear from plaintiff first, and then I'll
  7          hear argument from defendants second.
  8                  MR. PETRSORIC: Thank you, Your Honor.
  9                  With respect to coplanar and aligning in a
 10          coplanar relationship, there's two primary disputes. The
 11          first one is whether the cutting device and the
 12          intermediate layer may share more than one plane, and
 13          that's that why we have "a plane."
 14                  And the second one is whether aligning in a
 15          coplanar relationship is indefinite. And particularly,
 16          whether a person of skill in the art would understand
 17          that two or three-dimensional objects can be described as
 18          coplanar.
 19                  And I'm going to address these two disputes
 20          together because they are related. Now again, we start
 21          with the language of the claims. And here first with
 22          respect to biasing, the biasing step does occur after the
 23          driving step so they didn't ask for a limitation that
 24          required the method steps to be performed in the same
 25          order. And if they would have, we would have disputed

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 50 of 81 PageID50
                                                                        #: 1249




  1          that. So there's no limitation here requiring the method
  2          steps to be performed in this specific order and there's
  3          no dispute about that as far as we understand.
  4                  THE COURT: Okay.
  5                  MR. PETRSORIC: And so what does it mean to align
  6          in a coplanar relationship. First as I said before, we
  7          fix the display unit in a carriage. We expose the
  8          intermediate layer on all sides. The very next step says
  9          you align a cutting device in a coplanar relationship
 10          with the intermediate layer. And Figure 7 which is
 11          annotated with a Z, is shown on the slide. We submit
 12          that just based on Figure 7 and reading the claim
 13          language one would understand with reasonable certainty
 14          what it means to align a wire in a coplanar relationship
 15          with the layer. And the specification does more than
 16          just give Figure 7, it gives example after example of
 17          what it means to be coplanar and what it means to be in a
 18          coplanar relationship. And I'm going to go on to the
 19          specific descriptions in the specification.
 20                  THE COURT: Well, how do you respond to what I
 21          assume I'm going to hear from the other side that even a
 22          judge without an engineering degree, took ninth grade
 23          geometry, and in ninth geometry coplanar was between two-
 24          dimensional objects, not three-dimensional objects.
 25                  MR. PETRSORIC: Well, I believe in geometry,

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 51 of 81 PageID51
                                                                        #: 1250




  1          perpendicular and parallel are also between two-
  2          dimensional objects and not three-dimensional objects.
  3          So often those of skill in the art of mechanical
  4          engineering understands that these descriptions -- and
  5          it's not just coplanar, it's coplanar relationship. So
  6          it doesn't say the two- or three-dimensional objects are
  7          coplanar, it describes them having a coplanar
  8          relationship. And when looked at in light of the
  9          specification, one skilled in the relevant art which
 10          would not be a geometry professor, at least that's our
 11          understanding, would understand what it means and it says
 12          so right in the patent, and explains it. Column 1, 53 to
 13          59. This is right -- when it's the summary of the
 14          invention, the second or third sentence, it says first
 15          you hold it in a carrier, the phone or the device. Then
 16          it says a wire having a thickness of less or equal to
 17          that of the intermediate layer is coplanar would set into
 18          the intermediate layer. So the wire being a thickness of
 19          less than or equal to that of the intermediate layer is
 20          the key to having that coplanar relationship. Because
 21          once you expose the intermediate layer on all sides, if
 22          the wire is the same you can -- there's one available
 23          plane, and you can just push it into that one available
 24          plane. But if the wire is thinner -- and the
 25          specification explains that -- then there will be

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 52 of 81 PageID52
                                                                        #: 1251




  1          multiple available planes in the intermediate layer that
  2          you could use to push the wire through. So that's what's
  3          explained here at Column 1, 53 to 59. But again, Column
  4          6, 4 through 9, by interposing a wire or a cutting blade
  5          of thickness equal to or less than that of layer 24. And
  6          as we saw in Figure 7, layer 24 is the intermediate
  7          layer. And the reason that's important again is because
  8          in order to align a wire with the planes of the
  9          intermediate layer it has to be the same size or less.
 10          If it's thicker, you can't do it.
 11                  And now with respect to coplanar relationship. As
 12          shown in Figure 5, and as will be explained herein, the
 13          use of a thin wire interposed between layers 22 and 26,
 14          which is the top layer and the bottom layer, and aligned
 15          in a coplanar relationship with the intermediate layer.
 16          So we have a thin wire. And thin really is the aspect of
 17          where they are taking the geometric definition and using
 18          it. Since the wire is so thin, technically as matter of
 19          geometry and we all agree the wire will have a --
 20          technically a top plane and a bottom plane. And we would
 21          agree that each of those technical geometry planes has to
 22          be lined up with the intermediate layer. But the
 23          specification uses the term and the claim uses coplanar
 24          relationship as if the wire was so thin it would be
 25          considered to have a one plane. And that's how it's

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 53 of 81 PageID53
                                                                        #: 1252




  1          described. And this is describing it. It says
  2          preferably you align it as close as possible to the plane
  3          adjacent the electronic display portion which is away
  4          from the glass.
  5                  And then specification teaches again at 6, 10
  6          through 18, preferred method. You maintain the cutting
  7          element in a coplanar relationship with the plane
  8          adjacent the electronic display. This can be
  9          accomplished by aligning it carefully to maintain the
 10          coplanar relationship. So you're aligning it and you're
 11          pushing and you're trying to hold it aligned with that
 12          intermediate layer.
 13                  Then it goes on, it says the method can be
 14          practiced by aligning the wire in the same plane as the
 15          intermediate layer or in any plane between the two
 16          interface planes. The interface planes are the top and
 17          bottom layers. Now the defendants latch on to this and
 18          say, see the use of "or." It's saying it could either
 19          happen in the same plane, or between something different,
 20          any plane between the two. And they say this is
 21          confusing, one skilled in the art doesn't really know
 22          what this means. But the very next sentence explains it.
 23          Because the wire may be thinner than the layer, there
 24          could be multiple available planes. If they are
 25          approximately the same size then there's one available

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 54 of 81 PageID54
                                                                        #: 1253




  1          plane, the wire is thinner, one skilled in the art would
  2          understand and you can put it in any plane.
  3                  And then Column 8, 65 to 67. Again, here it's
  4          saying it's preferably aligned with the intermediate
  5          layer at its midpoint or adjacent to the electronic
  6          display portion without engaging its surface. So it's
  7          saying there's multiple available planes to align it
  8          with. And that's why our construction has "a" and their
  9          construction has "the." In the same plane. And our
 10          construction has in a same plane. Because when you're in
 11          a coplanar relationship there could be more than one
 12          planes available and that's all we were trying to make
 13          clear there.
 14                  Now the defendants, the only evidence they rely on
 15          is The Facts on File Geometry Handbook. And this is what
 16          it says for the definition of coplanar; "lying on a
 17          common plane." And then on the right we have the claim
 18          line. And the question is would someone understand with
 19          reasonable certainty what it means to align a coplanar --
 20          align a cutting device in a relationship such that they
 21          are lying on a common plane such that it's lying on a
 22          common plane with the intermediate layer. And with
 23          reasonable certainty looking at Figure 7, we believe a
 24          person with skill in the art would know, and certainly
 25          know with a level of reasonable certainty what's meant

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 55 of 81 PageID55
                                                                        #: 1254




  1          there.
  2                   Now in order to arrive at their argument regarding
  3          indefiniteness, defendants must disregard the claim
  4          context because the claim talks about your -- it's
  5          using -- it's not coplanar, it's coplanar relationship,
  6          and it's aligning the wire in the coplanar relationship
  7          with the intermediate layer which is fixed. To ignore
  8          the field of the invention, instead relying on geometry
  9          textbooks instead of anything from one of skill in the
 10          art. They misapply and misuse the specification and say
 11          one of skill in the art wouldn't understand what coplanar
 12          means in light of the specification. With the
 13          specification itself, at least in our view, provides an
 14          understanding with more than reasonable certainty what
 15          the phrase means.
 16                   The defendants also disregard the geometric
 17          phrases are often used in claims to describe real-world
 18          relationships between three-dimensional objects such as
 19          parallel and perpendicular. Defendants have no evidence
 20          from one of skill in the art, no opinion testimony. And
 21          the defendants also disregard the courts, both the fed,
 22          circuit, and district courts who routinely recognize that
 23          words like coplanar can be used to describe the
 24          relationship between real-world objects.
 25                   And lastly, in the Whirlpool case this Court

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 56 of 81 PageID56
                                                                        #: 1255




  1          recognized that expert declaration to demonstrate the
  2          understanding of one of skill in the art is typically
  3          necessary for a finding of indefiniteness. And here, the
  4          defendant's argument is based almost solely on attorney
  5          argument, other than the geometry textbook which I
  6          referenced earlier.
  7                  And just one last thing before I sit down. I
  8          wanted to point out on the biasing step, away from the
  9          glass. In the parties' briefing -- and this is from the
 10          defendant's brief themselves -- we agreed that away from
 11          the glass means in the Z direction. So the force is not
 12          applied as you're pushing it into, that's not in the Z
 13          direction. This is recognized on page nine of the
 14          defendant's brief. They said, "the parties further agree
 15          that the claim biasing step requires that a force is
 16          applied to the cutting device in the direction along the
 17          Z axis." So there was some confusion based on the
 18          defendant's argument. They said, well, you're biasing as
 19          you're pushing in. That's not the claim biasing. The
 20          claim biasing goes down, and you can only do that claim
 21          biasing in the intermediate layer. And it goes away --
 22          away from the glass. That's the direction it goes if
 23          you're pushing down. Why? To get around those shards of
 24          glass, and that's what's described in the spec. And in
 25          the parties briefing they agreed to that, but defendant's

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 57 of 81 PageID57
                                                                        #: 1256




  1          just argued that, no, you could be biasing as you're
  2          going in and that's why it requires construction and
  3          that's why it's confusing. The plain language of the
  4          claim states that the biasing must occur away from the
  5          glass. If this Court would like to clarify that to the
  6          extent the defendants intend to argue otherwise, we would
  7          not object to that. But away from the glass is certainly
  8          correctional.
  9                  That's all, Your Honor.
 10                  THE COURT: All right. Let me hear from the
 11          defendants.
 12                  MR. DEANE: So, Your Honor, as we know, the
 13          coplanar relationship term that's at issue here is part
 14          of this aligning step. And we believe here that
 15          plaintiff is correct that there's two principle disputes.
 16          And the defendant's construction of coplanar is the first
 17          dispute, and then whether the term is indefinite is the
 18          second dispute. I'm going to address the first part
 19          first here.
 20                  And what we believe is that the defendant's
 21          construction of in the same plane is the proper
 22          construction. Plaintiff's construction of in a same
 23          plane is inconsistent with basic geometry. And as you
 24          just heard them come up here and say, they actually now
 25          have even expanded it more to mean it just has to share

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 58 of 81 PageID58
                                                                        #: 1257




  1          more than one plane. And we think that that's completely
  2          inconsistent with the definition of coplanar as Your
  3          Honor pointed out, we all learned in ninth or tenth grade
  4          geometry.
  5                  So certainly under all constructions the term is
  6          indefinite. But when you look at claims construction,
  7          their construction is now so broad that it absolutely is
  8          indefinite and we'll show you why here in a minute. I
  9          think it may help to start at a high level.
 10                  Up here on the screen is U.S. Patent -- or U.S.
 11          Application 2010/0199818 from the file history. And this
 12          is showing that in the art these generic cutting machines
 13          were known. As Your Honor alluded to earlier, this is
 14          the cheese slicer. You can manually have a wire pulled
 15          through reels. You can manually slide a block that's
 16          bonded together to separate the layers of that block, and
 17          it was used in various contexts. But these rudimentary
 18          machines are not what plaintiff claims to have invented.
 19          The machine on the right is from the asserted patents.
 20          And what the plaintiff claims to have invented is a
 21          machine that precisely aligns the wire -- you saw them
 22          pull up those specification passages that say that -- and
 23          then biases the wire in a specific way in the
 24          intermediate layer.
 25                  And we believe this is evident from the claims.

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 59 of 81 PageID59
                                                                        #: 1258




  1          What's up here on the screen is Claim 1 from the 953
  2          Patent, and it says a display unit in blue -- and that's
  3          from Figure 7, shows the phone as the display unit --
  4          defining an axis extending along said intermediate layer.
  5          And that axis is the X or Y axis that's shown on the
  6          screen in Figure 7. These are where the cutting device
  7          must be aligned in the aligning step to be coplanar.
  8                  And we can see that this axis -- we can see that
  9          one of these axises is important because in the driving
 10          step you drive the cutting device into the intermediate
 11          layer relative to this display unit axis. So this
 12          geometry is important to the claim. The coplanar
 13          relationship is fundamental to the claim. And so the
 14          defendant is focused on what coplanar means. And again
 15          as Your Honor alluded to, coplanar means in the same
 16          plane. Points A, B, and C are coplanar. Lines A/B and
 17          C/D are coplanar. These are simple concepts that we all
 18          learned from ninth and tenth grade geometry. And this is
 19          a basic mathematical principle, Your Honor. You can take
 20          judicial notice of what coplanar means. You don't need
 21          expert testimony for somebody to come in here and tell
 22          you that.
 23                  We also know what coplanar doesn't mean. Point C
 24          is not coplanar with points A and B. Likewise, if we
 25          have parallel planes those are not coplanar. C and D and

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 60 of 81 PageID60
                                                                        #: 1259




  1          A and B are not coplanar. And importantly here, Your
  2          Honor, intersecting planes are not coplanar. Points C
  3          and D and points A and B on these intersecting planes are
  4          not coplanar. And we don't think that any tenth grade
  5          geometry student would come up here and tell you
  6          otherwise. But plaintiff's definition of sharing a same
  7          plane, or as they alluded to up here, sharing one or more
  8          planes, is so broad that they are going to come in here
  9          and argue later that it captures these orientations.
 10                  So going back to the patent, Your Honor, here's
 11          Figure 3. And I've annotated it with the wire across the
 12          machine and the X/Y axis shown on top here. And if this
 13          claim is definite, Your Honor, then this is the only
 14          possible thing that coplanar can mean. In the same plane
 15          as the X and Y axis that defines the intermediate layer.
 16          It's kept taut --
 17                  THE COURT: What about the situation, Mr. Deane,
 18          where opposing counsel argued that given a disparity
 19          between the width of the wire and the width of the
 20          intermediate area that there could be multiple planes all
 21          parallel to each other, but within the larger
 22          intermediate area than the single width of the wire? Are
 23          those all the same plane in your mind because they are
 24          parallel to each other?
 25                  MR. DEANE: No. We disagree with that, Your

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 61 of 81 PageID61
                                                                        #: 1260




  1          Honor. It's shown on this slide, points in two parallel
  2          planes are in fact by definition not coplanar. And
  3          that's the problem with plaintiff's claim, is they've
  4          used three-dimensional language in a two-dimensional way
  5          and they've meshed them together in a way that
  6          is uncertain and subjective to somebody trying to read
  7          the claims.
  8                  And so in the aligning step -- which again, Your
  9          Honor, is a precise alignment that the plaintiffs here
 10          have invented. What they've done is not define any
 11          reference point on the wire or any reference point in the
 12          intermediate layer that is supposed to be coplanar with
 13          each other. Instead, they've just simply said put these
 14          two objects together and therefore they must be coplanar.
 15          And we think fundamentally what that is, is leaving the
 16          word coplanar out of the claim. What plaintiff's want
 17          you to do is say that if you would align in any
 18          relationship with the intermediate layer then you have
 19          met the claim definition of aligning in a coplanar
 20          relationship. And we think that's exactly why a person
 21          of skill in the art, or anybody knowing what the
 22          definition of coplanar means, would know that without a
 23          reference point you can't actually align precisely in
 24          what layer of the intermediate layer the wire needs to be
 25          aligned. I'm sorry, you don't know what layer in the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 62 of 81 PageID62
                                                                        #: 1261




  1          intermediate layer this wire is supposed to be aligned
  2          in.
  3                  THE COURT: But aren't you asking me to take a
  4          two-dimensional concept that relates to a three-
  5          dimensional process and say the square peg won't fit in
  6          the round hole, and therefore we win? Because this is a
  7          two-dimensional process, it can't be applied in the
  8          three-dimensional context even if we have language like
  9          coplanar relationship, as opposed to absolutely coplanar.
 10                  MR. DEANE: No, Your Honor, I do not believe that
 11          we're asking you to do this. What the plaintiff is
 12          asking you to do is to rewrite the claim to avoid that
 13          exact problem. What the plaintiff could have done is the
 14          plaintiff could have provided you a reference point. For
 15          example, the plane that runs on the top of the wire.
 16          They alluded that the wire has an upper boundary plane
 17          and a lower boundary plane. They could have said that
 18          plane is coplanar with the plane defined by the plane
 19          adjacent to the electronic display. Those would be in a
 20          coplanar relationship. Likewise, they could have said a
 21          midpoint of a wire is coplanar with a midpoint of a
 22          intermediate layer, but they didn't do that. Instead
 23          through their claim drafting and their choice of the
 24          words, they have made this claim virtually impossible to
 25          figure out where this wire is supposed to be aligned.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 63 of 81 PageID63
                                                                        #: 1262




  1          And that exact subjectivity is what gives rise to the
  2          indefiniteness problem, certainly, you know, under
  3          defendant's definition, but most certainly now under
  4          plaintiff's definition. And that's where we -- you know,
  5          we don't think that plaintiff's definition solves this
  6          problem of two dimensional versus three dimensional.
  7                  And if I can show why -- you know, I have this
  8          illustration that I think expands what we're talking
  9          about here where I have taken Figure 7, rotated it, and
 10          then just sort of blown it up so that the intermediate
 11          layer is shown here. And, you know, we think that if
 12          Your Honor is going to find this term definite, this is
 13          what it is. It's a straight parallel wire in a parallel
 14          plane with the X/Y axis that we were just talking about
 15          in the claim, and that's the only thing it can possibly
 16          be. But the problem with plaintiff's definition -- and
 17          if you look at what plaintiff says is they said we're not
 18          even applying that geometric definition to these terms.
 19          We're not applying what a -- how a professor would use
 20          this term. And they say that -- you know, they've
 21          defined a -- somebody with a background in engineering,
 22          but a person with a background in engineering would apply
 23          this term in the same way that they learned it in ninth
 24          or tenth grade. What they are saying is that the
 25          asserted patents have a special definition. But they

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 64 of 81 PageID64
                                                                        #: 1263




  1          haven't given this special definition, they've simply
  2          changed the word "the" to the word "a". From a legal
  3          perspective, that now changes entirely what the term
  4          means, and it removes it completely from what everybody
  5          that took tenth grade geometry would understand.
  6                  And here's an example of this, Your Honor. This
  7          is now a slanted wire that's going through the
  8          intermediate layer. It's no longer parallel to that
  9          critical X/Y axis. It's no longer sitting in any
 10          parallel plane. But the language that the plaintiff came
 11          up here and used was that the wire simply has to share
 12          more than one plane with the intermediate layer. Well,
 13          now they are going to come up here and try to argue that
 14          this maybe falls within their construction of the term.
 15          And we think likewise, this one too shares more than one
 16          plane with the intermediate layer. This would be a
 17          vertical wire going through. And this one, Your Honor,
 18          this is a wire that's bent as it's going through the
 19          intermediate layer. It's not even coplanar with itself,
 20          but as we saw, it has intersecting planes and those
 21          planes could share more than one plane with the
 22          intermediate layer. And we think that by departing from
 23          the geometric definition of this term they've now
 24          rendered their claim even more indefinite. Now a person
 25          of ordinary skill in the art that was stuck trying to

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 65 of 81 PageID65
                                                                        #: 1264




  1          figure out where to align the wire in a parallel
  2          relationship with the upper and lower bounds of the
  3          intermediate layer, are now stuck trying to figure out
  4          how to actually orient the wire in the intermediate
  5          layer. And that from our perspective, Your Honor, you
  6          know, renders the claim indefinite because it provides no
  7          reasonable certainty to anyone trying to accomplish the
  8          aligning step using this coplanar relationship. And
  9          that's a function of how the plaintiff drafted their
 10          claim term. They didn't have to draft it that way. They
 11          didn't have to ask Your Honor to rewrite it. They could
 12          have done it right the first time. But instead, what
 13          they need you to do now is they need you to come in and
 14          essentially write out the word coplanar to save the
 15          definiteness of their terms and we think that that's
 16          improper under the legal standard. We don't think that
 17          aligning a cutting device in any relationship with the
 18          intermediate layer is the proper way to construe this
 19          term to save it from being indefinite.
 20                  And I'll address the cases that were cited for the
 21          first time in plaintiff's reply brief. And the only case
 22          that they cited which actually tried to construe the term
 23          coplanar, that was the Graco Childrens Product case.
 24          They construed the term coplanar exactly as the
 25          defendants ask you to construe it here. They interpreted

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 66 of 81 PageID66
                                                                        #: 1265




  1          it as in the same plane. Didn't say in a same plane
  2          because while those geometric handbooks may have said in
  3          a plane, in the legal sense a plane means one or more
  4          planes. And that's exactly what they came up here and
  5          asked you to do, was rewrite their claim so that it means
  6          something that it doesn't mean. And that's precisely why
  7          the Court here said in the same plane. Likewise, the
  8          federal circuit here, they had no trouble using the word
  9          coplanar not to -- not in a construction, not in the
 10          context of indefiniteness, but to describe a flat panel
 11          36. Here they are using 2D language, flat panel, and
 12          they are saying that the flange 40 that was bent out of
 13          the plane of the flat panel was not coplanar with the
 14          otherwise flat panel. That's completely consistent with
 15          how defendants are using the term. And we don't think
 16          that there's any inconsistency there with using two-
 17          dimensional language and using the term coplanar in that
 18          context.
 19                  In the other case that they cite here was a case
 20          against Trinity Industries, and this was a guardrail
 21          head. And the Court here -- again not construing the
 22          term coplanar -- said Edge 70C is in a coplanar
 23          relationship with Edge 72D. There's no inconsistency
 24          here. The Court there was using two-dimensional language
 25          and said in that context that those two things were

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 67 of 81 PageID67
                                                                        #: 1266




  1          coplanar. And so again, it's not that you can never use
  2          a term like parallel, or perpendicular, or coplanar, it's
  3          that you have to set your claim up so that a person of
  4          ordinary skill in the art would understand what reference
  5          points you're using to then define those dimensions. And
  6          we think that fundamentally is the problem with the way
  7          that they wrote their claim and why this particular claim
  8          is indefinite.
  9                  THE COURT: Let me ask you this, Mr. Deane, and
 10          let's focus on coplanar, not coplanar relationship, where
 11          we have plaintiff's proposed "in a same plane" and your
 12          proposed "in the same plane."
 13                  I agree with you that -- and I don't know where on
 14          your slide that the picture is, but back where you had
 15          the bent wire and the different angles of the wire going
 16          through the intermediate layer.
 17                  Yeah, back it up before that. There you go.
 18          Leave it on that one.
 19                  I understand that that's objectionable and
 20          probably not intended, and I accept that as a fairly
 21          valid argument. Here's the problem. As long as that
 22          wire has a smaller size than that intermediate layer,
 23          then there are multiple parallel planes within the
 24          intermediate layer where that wire could pass through and
 25          be not at an angle, but be at a same parallel plane with

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 68 of 81 PageID68
                                                                        #: 1267




  1          the bottom of the glass or the top of the electronic
  2          display. And so you're telling me that their definition
  3          opens the door to this, they are telling me that your
  4          definition precludes any plane that's parallel to the
  5          bottom of the glass or the top of the electronic display
  6          because there are multiple planes and you say it must be
  7          the same plane. So how do you -- how do you suggest to
  8          the Court that I rectify that? Because I think their
  9          point is valid, that if the wire is smaller than the size
 10          of the intermediate layer then whether it comes in a
 11          third of the way down the intermediate layer from the
 12          top, or halfway down, or a third from the bottom, it's
 13          coming in at a parallel coplanar direction. And I don't
 14          think there's a problem with that. I think there is a
 15          problem with what you're afraid of here. So between "a
 16          same plane" and "the same plane," how do you suggest that
 17          I preclude them from being handcuffed by what they are
 18          afraid of, and also protect you from being handcuffed
 19          from what you're afraid of?
 20                  MR. DEANE: Well, I think, Your Honor, if you
 21          adopted our definition of in the same plane you could
 22          still find the term indefinite -- or I'm sorry, find the
 23          term definite. I think that our definition --
 24                  THE COURT: Well, you haven't argued coplanar is
 25          indefinite. You've argued aligning in a coplanar

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 69 of 81 PageID69
                                                                        #: 1268




  1          relationship is indefinite. But your indefinite argument
  2          doesn't apply to the term coplanar by itself. Not as I
  3          read the briefing.
  4                  MR. DEANE: That's correct, Your Honor. And I
  5          guess -- I guess our -- our point would be that if you're
  6          going to find the term definite that -- that you are
  7          correct that this is the way that it's supposed to be.
  8          It's supposed to be this parallel or this straight, taut
  9          wire aligned in the plane in the intermediate layer that
 10          is consistent with that X/Y axis.
 11                  THE COURT: So if the length of that intermediate
 12          layer is 150 miles, the wire doesn't move up or down, it
 13          rides through that intermediate layer at the same
 14          relationship to the glass and the electronic device if it
 15          is in fact coplanar.
 16                  MR. DEANE: I think setting aside the biasing step
 17          and sort of what you heard with the argument about the Z
 18          axis, you're focusing on the aligning step.
 19                  THE COURT: Right.
 20                  MR. DEANE: Yes. The plane that is 150 miles wide
 21          and infinite in all directions here would be in the same
 22          plane as the intermediate layer. And in this particular
 23          example, adjacent to the electronic display consistent
 24          with the X/Y axis.
 25                  THE COURT: And do you agree that in this drawing

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 70 of 81 PageID70
                                                                        #: 1269




  1          with the intermediate layer certainly larger than the
  2          size of the wire -- and again, I'm talking about the
  3          distance from the top of the intermediate layer to the
  4          bottom of the intermediate layer versus the top edge of
  5          the wire to the bottom edge of the wire, assuming there's
  6          a clear disparity between those two things such that the
  7          height or the distance from top to bottom of the
  8          intermediate layer is considerably larger than the same
  9          dimension of the wire, that as long as it enters that
 10          intermediate layer in a coplanar fashion -- or let me say
 11          it another way. As long as it is aligned to enter that
 12          intermediate layer in a coplanar parallel fashion, that
 13          that is not what you're complaining about and defendants
 14          are all right with that, then that's one thing. But if
 15          you're telling me when we get down the road and you're
 16          going to say because it doesn't specify the same plane,
 17          it doesn't specify where on the height of that
 18          intermediate layer it's going to come in, therefore it's
 19          not properly aligned, therefore we win, game over, that's
 20          something I need to know about now. Because it sounds
 21          like to me your point that it can't be at an angle or
 22          something other than parallel with the plane is correct,
 23          but that's not the same thing as saying it can only enter
 24          the intermediate layer at this one point and it's
 25          precluded from entering or being aligned to enter the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 71 of 81 PageID71
                                                                        #: 1270




  1          intermediate layer at any parallel plane within the
  2          distance between the top of the intermediate layer and
  3          the bottom of the intermediate layer. Is that clear?
  4                  MR. DEANE: Understood, Your Honor. And, yes, and
  5          I can address that.
  6                  So as part of our indefiniteness argument here at
  7          Markman, that is our argument. Our argument is that
  8          because we don't know where it's supposed to be aligned,
  9          whether at the top, the midpoint, or the bottom, based
 10          off the words coplanar relationship, and because of
 11          plaintiff's choice to use two, three-dimensional objects
 12          and say they should be aligned in a coplanar
 13          relationship, that that is precisely what renders the
 14          term indefinite.
 15                  Now if Your Honor decides that we are incorrect
 16          and that that -- the term is not indefinite, then we
 17          believe that our construction is this -- in the same
 18          plane is this parallel construction that you see on the
 19          screen, where again if -- if we're operating under Your
 20          Honor's ruling that the term is definite and that a
 21          person of ordinary skill in the art would know with
 22          reasonable certainty what plane it's supposed to be
 23          aligned in, then we would come in and say that the
 24          parallel to those parallel planes like a deck of cards
 25          almost, any one of those planes as long as the wire is

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 72 of 81 PageID72
                                                                        #: 1271




  1          parallel would mean in the same plane relationship.
  2                   THE COURT: Okay. You've answered my question.
  3                   What else do you have for me on this?
  4                   MR. DEANE: Nothing else, Your Honor.
  5                   THE COURT: All right. Then I've heard argument
  6          on all the terms. I'm happy to hear further argument but
  7          I don't really think it's necessary unless somebody feels
  8          there's something very pressing that we've overlooked
  9          somehow.
 10                   Plaintiff's counsel, you look like you want to
 11          stand up and say something. Are you satisfied with the
 12          argument or do you think there's something that has been
 13          overlooked?
 14                   MR. PETRSORIC: I was just going to add one thing,
 15          Your Honor. We're okay with the parallel. We used "a
 16          plane" because it's both the top plane and the bottom
 17          plane of the wire and the coplanar relationship. So just
 18          to make clear, we weren't trying to argue, you know, the
 19          sideways and I think that's an easy way to solve the
 20          problem on that. It's the top plane and the bottom
 21          plane.
 22                   THE COURT: All right. Thank you.
 23                   All right. Then I'll consider that I've heard
 24          adequate and competing argument on the disputed terms for
 25          claim construction.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 73 of 81 PageID73
                                                                        #: 1272




  1                  And with that, Counsel, I want to transition. I
  2          will do my best -- these matters are under submission.
  3          I'll do my best to get you a claim construction opinion
  4          as soon as possible. But these disputes are under
  5          submission.
  6                  I want to transition to what I had also noticed
  7          you for today, which is a status conference on pending
  8          motion, and motions to transfer or dismiss. And quite
  9          honestly, I did this because the Court was confused about
 10          the briefing and the argument. And I now think perhaps
 11          there's been some -- perhaps unintentionally, but there's
 12          been some light directed towards this problem that
 13          perhaps explains how we got to where we got to.
 14                  Part of why I asked you, Mr. Pinker, about case
 15          357 and Assurant is after the cases were consolidated you
 16          amended your complaint to add Assurant but you filed it
 17          in the lead case. You didn't file it in the 359 case.
 18          And the clerk's office has added Assurant to the 357 case
 19          and does not have Assurant in the 359 case. Now maybe
 20          that wasn't your intention, but the post consolidation
 21          amendment to add Assurant seems to have put it in a case
 22          that's not necessarily where you intended it to go. And
 23          consequently, in reading the briefing on the transfer
 24          issues, it looked like to me you were arguing I should
 25          take a part of the case and send it to Sherman and keep

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 74 of 81 PageID74
                                                                        #: 1273




  1          the rest of the case in Marshall. And if you've got some
  2          additional clarification on this, let me know.
  3                  But what we've got is we've got the three cases
  4          that are consolidated. We've got a Motion to Transfer
  5          which seems to say I will conditionally concede propriety
  6          of venue if you transfer on a convenience basis, but
  7          that's only as to some defendants. We have other
  8          defendants who haven't moved. We have defendants who
  9          haven't taken a position. We have an allegation of
 10          convenience analysis that should take place, and we don't
 11          have convenience facts as to some defendants. Quite
 12          honestly, I'm not sure how is best to proceed with this
 13          venue issue that's been raised. And perhaps some of it
 14          is derived from the fact that your amendment may have
 15          unintentionally placed this added defendant in the wrong
 16          case because of the consolidation. I don't know. But I
 17          wanted to have a discussion of exactly what you're asking
 18          for and why you're asking for it so I have a better idea
 19          how to understand and approach the motions that are
 20          pending. Can you address these comments and add
 21          anything?
 22                  MR. PINKER: May I approach?
 23                  THE COURT: Please.
 24                  MR. PINKER: I will obviously try, Your Honor, and
 25          I apologize for the confusion. The complaint was

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 75 of 81 PageID75
                                                                        #: 1274




  1          obviously amended by the plaintiff.
  2                  THE COURT: Right.
  3                  MR. PINKER: And that complaint as I understood it
  4          added I believe one defendant to the 359 case and removed
  5          the Reconext defendant from the 359 case. I filed a
  6          Motion to Transfer, and in the alternative Motion to
  7          Dismiss solely in connection with the 359 case. We
  8          filed it with the consolidated heading required by the
  9          Court's order to file everything in a consolidated
 10          fashion. And if that resulted in confusion, I very much
 11          apologize for that.
 12                  THE COURT: Well, you're exactly right. It's the
 13          plaintiffs that amended the complaint, I didn't mean to
 14          indicate otherwise. But somehow, some way, the clerk's
 15          office at least from my reading of the docket is now
 16          showing the defendant Assurant in the 357 case and not in
 17          the 359 case.
 18                  MR. PINKER: The defendant Assurant is in the 357
 19          case, Your Honor. I represent in the 359 case the
 20          following six defendants who are all of the defendants in
 21          the 359 case. Defendants Clover Technology Group, Clover
 22          Wireless, Valu Tech Outsourcing, Teleplan Holdings,
 23          Teleplan Services, and Teleplan Services of Texas. Those
 24          six defendants are to my understanding, the six
 25          defendants named in the First Amended Complaint of the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 76 of 81 PageID76
                                                                        #: 1275




  1          359 case.
  2                  THE COURT: Well, and I've discussed Assurant and
  3          perhaps I named the wrong defendant. Valu Tech is
  4          being -- Valu Tech, Teleplan is listed as a defendant in
  5          the 357 case, not in the 359 case. And the First Amended
  6          Complaint for Patent Infringement Document Number 24
  7          filed in the 357 case shows as the heading of -- or the
  8          style of that amendment Viking Technologies vs. Clover
  9          Technologies, Clover Wireless, Outsourcing, Teleplan
 10          Holding, Teleplan Service Logistics, and Teleplan
 11          Services Texas, Inc. Valu Tech is not shown in the style
 12          of the First Amended Complaint regarding the 359 case,
 13          and this First Amended Complaint is filed in the lead
 14          case, the 357 case.
 15                  Maybe plaintiff can add some clarification to
 16          this. And while you're going to the podium, why don't
 17          you explain to me at a little bit of a higher level why
 18          in light of Section 299 of the AIA, we've got multiple
 19          defendants in a patent infringement case when each one
 20          has got a right to a separate jury trial? Did you expect
 21          me to sever all of these sua sponte, or why are they all
 22          lumped into one case?
 23                  MR. DEVINCENZO: They are all related. The 357,
 24          358 and 359 were all filed in related because each of
 25          those cases involves related entities, and we understood

                         BARNETT COURT REPORTING
                              903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 77 of 81 PageID77
                                                                        #: 1276




  1          that there were acts of infringement that would have cut
  2          across multiple corporate entities within the families.
  3                  THE COURT: Well, when you amended in Document 24,
  4          what was your intention with regard to Valu Tech? Was it
  5          to go into the 357 case which is the case number listed
  6          on your amended complaint, or was it to go into the 359
  7          case? And if it was to go into the case with Clover, et
  8          cetera, which is the 359 case, and why was it named in
  9          the style of the amendment so that that would be clear?
 10          That's where the confusion is coming from.
 11                  MR. DEVINCENZO: I understand, Your Honor, and
 12          without full clarification I would assume that that's at
 13          least at the very least a clerical error on our part and
 14          we likely filed the amended complaint for the -- what
 15          I'll call the Clover entities which includes Valu Tech
 16          and who were originally named in the 359 case, the
 17          amended complaint was likely filed in the 357 case,
 18          thereby creating this confusion.
 19                  So what I would believe, that we would be able to
 20          clean this up and make sure we style each of the cases
 21          correctly as separated.
 22                  THE COURT: Okay. So from what I'm hearing, Valu
 23          Tech should be in the 359 case and not in the 357 case.
 24                  And let me ask you this, Mr. Pinker. In light of
 25          that, is your motion regarding venue only limited to the

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 78 of 81 PageID78
                                                                        #: 1277




  1          359 case or do you purport that it should apply to either
  2          the 357 or 358 case?
  3                  MR. PINKER: It is only limited to the 359 case,
  4          Your Honor.
  5                  THE COURT: Okay.
  6                  MR. DEVINCENZO: Was there a question pending for
  7          me, Your Honor?
  8                  THE COURT: Well, clearly there was some confusion
  9          as to the state of the docket and what the briefing on
 10          the motion was apparently trying to ask for and I
 11          couldn't reconcile in my mind how the briefing was asking
 12          for that relief if the alignment of the parties on the
 13          docket was correct. And so that's really what prompted
 14          this status conference being noticed today.
 15                  MR. DEVINCENZO: Understood. And so we will make
 16          sure we clean up any of the clerical snafus then with
 17          respect to the alignment of the parties within the -- at
 18          least within 359 versus the 357, and we'll doublecheck if
 19          there's any other issues there as well.
 20                  THE COURT: Well, it sounds like from this
 21          exchange that both plaintiff and defendants are all on
 22          the same page, that this may be misaligned through an
 23          unintentional clerical error more than anything else.
 24                  MR. DEVINCENZO: Yes, Your Honor. And I apologize
 25          to the Court for that.

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 79 of 81 PageID79
                                                                        #: 1278




  1                  THE COURT: Okay. So plaintiff intends Valu Tech
  2          to be in the 359 case represented by Mr. Pinker's firm,
  3          and not the 357 case. And that's Mr. Pinker's
  4          understanding as well, that his firm represents all of
  5          the defendants in the 359 case but none of the other
  6          parties, correct?
  7                  MR. DEVINCENZO: That is correct, Your Honor.
  8                  MR. PINKER: That is correct from our perspective
  9          as well, Your Honor.
 10                  THE COURT: Okay. Then I think in light of that
 11          clarification I can go back to what's pending, but I
 12          would suggest that action be taken to make sure the
 13          docket reflects what the parties have just indicated they
 14          believe the alignment of the parties should be.
 15                  MR. DEVINCENZO: We will make sure it's amended,
 16          Your Honor.
 17                  THE COURT: Okay. Thank you. That helps. That's
 18          really all the clarification I needed. I think I can now
 19          go back to what's pending, in light of that clarification
 20          and go forward with my analysis.
 21                  All right. Is there anything else related to
 22          either the status conference issue or related to the
 23          claim construction disputes that I've heard argument on
 24          that either party believes hasn't been somehow addressed
 25          or raised and needs to be raised with the Court at this

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 80 of 81 PageID80
                                                                        #: 1279




  1          time?
  2                   MR. EVERINGHAM: Nothing from the plaintiff, Your
  3          Honor.
  4                   MR. DEANE: Nothing from us, Your Honor, as well.
  5                   THE COURT: Okay. Well, as I say, these claim
  6          construction disputes are under advisement. I'll do my
  7          best to get you some written guidance by way of claim
  8          construction opinion as soon as practical. And I thank
  9          you for your attendance and argument.
 10                   The Court stands in recess, the parties are
 11          excused.
 12                            (End of proceedings)
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

                        BARNETT COURT REPORTING
                             903.821.3200
Case 2:20-cv-00357-JRG Document 124 Filed 08/16/21 Page 81 of 81 PageID #: 1280




  1    I certify that the foregoing is a correct transcript from the
  2    record of proceedings in the above-entitled matter.
  3
  4    /s/ Lori Barnett                         8/2/21
       COURT REPORTER                           DATE
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25

                        BARNETT COURT REPORTING
                             903.821.3200
